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                       EXHIBIT 4
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Michael A. Gehret (#11890)
Scott A. Wiseman (#16199)
SNELL & WILMER L.L.P.
Gateway Tower West
15 West South Temple, Suite 1200
Salt Lake City, Utah 84101-1004
Telephone: (801) 257-1900
Facsimile: (801) 257-1800
Email: mgehret@swlaw.com
       swiseman@swlaw.com

Attorneys for Defendant Comcast Corporation

                        IN THE THIRD JUDICIAL DISTRICT COURT FOR
                                SALT LAKE COUNTY, STATE OF UTAH


 BRIAN BAKER, on behalf of himself and all                    NOTICE OF FILING
 others similarly situated,                                  NOTICE OF REMOVAL
                   Plaintiff,
                                                                Civil No. 190906369
            vs.

 COMCAST CORPORATION,                                          Judge Barry Lawrence

                   Defendant.


           Please take notice that, pursuant to 28 U.S.C. §§ 1441 and 1446, on this date Defendant

Comcast Corporation filed a Notice of Removal in the United States District Court for the District

of Utah. A file-stamped copy of the Notice of Removal is attached hereto as Exhibit 1.

           DATED this 13th day of September, 2019.

                                                  Snell & Wilmer L.L.P.



                                                  /s/ Michael A. Gehret
                                                  Michael A. Gehret
                                                  Scott A Wiseman
                                                  Attorneys for Defendant Comcast Corporation




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                                  CERTIFICATE OF SERVICE
           I hereby certify that on September 13, 2019, the foregoing NOTICE OF FILING

NOTICE OF REMOVAL was delivered to all counsel for parties at interest in this cause by

placing a true and correct copy of the same in the United States mail, postage prepaid, in a properly

addressed envelope, and by email, as follows:

           Adam Gonnelli, Esq.
           THE SULTZER LAW GROUP P.C.
           280 Highway 35, Suite 304
           Red Bank, NJ 07701
           Gonnellia@thesultzerlawgroup.com

           and

           Brent R. Baker
           Christopher B. Snow
           CLYDE SNOW & SESSIONS
           201 South Main Street, Suite 1300
           Salt Lake City, Utah 84111-2216
           brb@clydesnow.com
           cbs@clydesnow.com

                                                      /s/ Michael A. Gehret




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